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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                               BOWLING GREEN DIVISION
                                CASE NO. 1:09-CR-00026-R

  THE UNITED STATES OF AMERICA                                                        PLAINTIFF

  v.

  VICKIE SUE PASSMORE, et al.                                                     DEFENDANTS

                             MEMORANDUM OPINION & ORDER

         This matter comes before the Court upon Defendant Vickie Sue Passmore’s Motion to

  Suppress Evidence (DN 420). A suppression hearing was held on May 24, 2010, in Bowling

  Green. Appearing for the United States was David R. Wiser, AUSA, and for the Defendant was

  Charles A. Walker. Terri Turner, official court reporter, recorded the proceedings. The matter is

  now ripe for adjudication. For the reasons that follow, Defendant’s Motion is DENIED.

                                         BACKGROUND

         On January 4, 2010, Defendant Vickie Passmore was indicted for conspiring to

  knowingly and intentionally possess with the intent to distribute fifty grams or more cocaine

  base, commonly known as “crack.” Prior to being indicted, Passmore spoke with law

  enforcement officials regarding the alleged conspiracy. Passmore now argues that the statements

  she made on September 28, 2009, be suppressed.

         On September 28, 2009, Passmore was walking with her mother in Jamestown,

  Kentucky, when she was approached by Detective Scott Hammond of the Kentucky State Police

  and Special Agent Ed Cundiff of the FBI, who were driving in Hammond’s Black Chevrolet

  Extended Cab Truck. They informed her that she was not under arrest but asked to speak with

  her. Passmore was already a target of the investigation and the government was planning on

  indicting her. She knew they wanted to interview her about the conspiracy because Roderick
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  Curry had previously been arrested and she had been in a relationship with him. Additionally,

  she had received a letter informing her that she had been recorded on a wiretap and had gone to

  the Kentucky State Police to speak to someone about the letter; she left her business card at the

  station for someone to contact her.

         Passmore agreed to meet Hammond and Cundiff behind the local grocery store so that

  people would not see them together. Because Jamestown is a small town and people generally

  know Hammond, he often speaks to individuals in locations where others cannot view their

  conversation. Hammond, who has known Passmore personally for many years, told Passmore’s

  mother that he would take Passmore home after they were finished speaking with her. Passmore

  walked to the store and met Hammond and Cundiff as planned. She then voluntarily got into the

  backseat of the truck through the passenger side door. The doors of the truck opened in such a

  way that if she wanted to exit the vehicle Hammond or Cundiff would have had to exit and assist

  her.

         Hammond suggested driving to the parking lot at the local airport a few miles away

  because it was less busy and Passmore agreed. They drove to the airport and spoke for

  approximately one hour. During the interview Passmore was shown a binder containing the

  intercepted conversations. At the end of the interview, Hammond drove Passmore to her house,

  which was a few miles away from the airport.

         At no point did either Hammond or Cundiff read Passmore her Miranda rights. During

  the interview, Passmore was told that if she did not cooperate she would be indicted. Hammond

  testified that he told her that she would probably be indicted regardless of her level of

  cooperation, but any cooperation would be communicated to the United States Attorney. She


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  testified that her impression was that if she did not cooperate she would be promptly arrested,

  but if she cooperated she would not be indicted. Hammond and Cundiff denied making any

  promises or threats. Additionally, Passmore asked “Do I need an attorney?” She stated that they

  told her no; Hammond testified that he told her that she had a right to an attorney, and she said

  she wanted to continue talking with them.

          Passmore was never searched or patted down. Although Hammond and Cundiff were

  carrying sidearms, they never made a display of force. Passmore kept her cell phone on her, and

  Hammond testified that she answered the phone at one point during the interview. Passmore

  does not remember answering the phone. She never asked to leave or stated that she felt

  uncomfortable. Passmore testified that Hammond and Cundiff told her she could leave when

  they were finished talking to her. She stated that she did not feel free to refuse to speak to them

  or to leave.

                                              ANALYSIS

          “Under the Fifth Amendment, a suspect is guaranteed the right to remain silent and the

  right to assistance of counsel during a custodial interrogation.” Tolliver v. Sheets, 594 F.3d 900,

  916 (6th Cir. 2010) (citing Miranda v. Arizona, 384 U.S. 436, 444-45 (1966)); see also

  Dickerson v. United States, 530 U.S. 428, 432 (2000). As defined by the Supreme Court in

  Miranda, custodial interrogation means “questioning initiated by law enforcement officers after

  a person has been taken into custody or otherwise deprived of his freedom of action in any

  significant way.” 384 U.S. at 444. The Court later clarified that “the Miranda safeguards come

  into play whenever a person in custody is subjected to either express questioning or its functional

  equivalent,” including “[a] practice that the police should know is reasonably likely to evoke an


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  incriminating response from a suspect.” Rhode Island v. Innis, 446 U.S. 291, 300-1 (1980).

  Additionally, “Miranda warnings are required only where there has been such a restriction on a

  person’s freedom as to render him ‘in custody.’” Oregon v. Mathiason, 429 U.S. 492, 495

  (1977).

            “In drawing the line between a non-custodial encounter between a citizen and the police

  (where Miranda does not apply) and a custodial encounter (where it does), courts consider ‘all of

  the circumstances’ surrounding the encounter . . . .” United States v. Panak, 552 F.3d 462, 465

  (6th Cir. 2009) (quoting Stansbury v. California, 511 U.S. 318, 322 (1994)). Just because an

  individual was questioned in a coercive environment does not automatically mean she was in

  custody. See Mathiason, 429 U.S. at 495. To determine “whether there was a ‘restraint on

  freedom of movement of the degree associated with a formal arrest’ . . . courts focus on the

  ‘objective circumstances of the interrogation,’ [and] ‘how a reasonable person in the position of

  the individual being questioned would gauge the breadth of his or her freedom of action.’”

  Panak, 552 F.3d at 465 (quoting Stansbury, 511 U.S. at 322-25). “Several factors guide the

  inquiry: the location of the interview; the length and manner of questioning; whether the

  individual possessed unrestrained freedom of movement during the interview; and whether the

  individual was told she need not answer the questions.” Id. (citing United States v. Swanson,

  341 F.3d 524, 529 (6th Cir. 2003)).

            After considering the totality of the circumstances, the Court concludes that Passmore

  was not subject to custodial interrogation. She initiated contact with the police by going to the

  station and leaving her business card for someone to contact her. When Hammond and Cundiff

  did so, she was aware that she was a subject of investigation. They told her she was not under


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  arrest and that she did not need to cooperate. In fact, Hammond told her that she would likely be

  indicted regardless of her level of cooperation. Passmore voluntarily met Hammond and Cundiff

  behind the grocery store, got in the truck, and agreed to go to the airport. Their decision to speak

  in an isolated area was reasonable considering the nature of Jamestown. Passmore was never

  searched and she was allowed to keep her belongings with her, including her cell phone. During

  the course of the one hour interview she never said that she did not want to talk or that she felt

  uncomfortable. Although she could not have exited the vehicle without the assistance of

  Hammond or Cundiff, they stated that they would have let her out or would have driven her

  home at any point if she had asked. The airport parking lot was a few miles away from her home

  and car, but she had her cell phone with her and could have called for someone to pick her up.

  The Court believes that Passmore voluntarily spoke to Hammond and Cundiff because she hoped

  that her cooperation would benefit her. “Volunteered statements of any kind are not barred by

  the Fifth Amendment . . . .” Miranda, 384 U.S. at 478.

                                           CONCLUSION

         For the foregoing reasons, IT IS HEREBY ORDERED that Passmore’s Motion to

  Suppress Evidence (DN 420) is DENIED.




                                                                            June 1, 2010




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